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                           IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF KANSAS


BRIGITTE CARMEL WEAVER,                       )
                                              )
                        Plaintiff,            )
                                              )
        vs.                                   )               Case No. 12-2582-JAR
                                              )
P&B CAPITAL GROUP, LLC,                       )
                                              )
                        Defendant.            )
                                              )

                                              ORDER

        The Court has been advised by counsel that the parties have reached an agreement settling this

case in its entirety.

        The clerk shall administratively terminate this action without prejudice. Pursuant to Rule

41(a)(1) of the Federal Rules of Civil Procedure, the parties shall file a stipulation of dismissal signed

by the parties, on or before January 28, 2013. The parties may reopen the proceedings for good cause

shown, for the entry of any stipulation or order, or for any other purpose required to obtain a final

determination of the litigation. If no stipulation is received and the parties have not moved to reopen

the case within the specified time, this order shall constitute the Court’s entry of final judgment of

dismissal with prejudice pursuant to Rule 41(a)(2).

        IT IS SO ORDERED.

Dated: December 14, 2012

                                                       S/ Julie A. Robinson

                                                      JULIE A. ROBINSON

                                                      UNITED STATES DISTRICT JUDGE
